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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane, et al. v. Barr              )       Case No. 19-mc-145 (TSC)
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Raone v. Gonzales, 05-cv-2337                 )
                                              )

                                            ORDER

       For the reasons set forth in the accompanying memorandum opinion (ECF No. 265),

Defendants’ motion to vacate this court’s preliminary injunctions barring the executions of

Plaintiffs James Roane, Richard Tipton, Cory Johnson, Orlando Hall, Bruce Webster, Anthony

Battle, and Jeffrey Paul, (ECF No. 173) is hereby GRANTED. The preliminary injunctions

barring the executions of these Plaintiffs are VACATED.

Date: September 20, 2020

                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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